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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                                                :
              v.                                :    Case No. 21-cr-689 (ABJ)
                                                :
THOMAS PATRICK HAMNER,                          :
                                                :
        Defendant.                              :

  JOINT STATUS REPORT AND MOTION TO SCHEDULE STATUS CONFERENCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Nicholas Smith, counsel for Thomas Patrick Hamner (“the

defendant”) hereby submit the following Joint Status Report.   The parties also respectfully move

the Court to schedule a Status Conference and to exclude the intervening time under the Speedy

Trial Act. In support of the Motion, the parties represent:

   1. The defendant is before the Court charged in an indictment with: Assaulting, Resisting or

       Impeding Certain Officers Using a Dangerous Weapon and Aiding and Abetting, in

       violation of Title 18, United States Code, § 111(a)(1) and (b); Civil Disorder and Aiding

       and Abetting, in violation of Title 18, United States Code, Section 231(a)(3); Entering and

       Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon, in

       violation of Title 18, United States Code, § 1752(a)(1) and (b)(1)(A); Engaging in Physical

       Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon, in

       violation of Title 18, United States Code, § 1752(a)(4) and (b)(1)(A); and Act of Physical

       Violence in the Capitol Building or Grounds, in violation of Title 40, United States Code,

       § 5104(e)(2)(F) (ECF No. 6).
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2. On June 16, 2022, the defendant pled guilty to one count of Civil Disorder and Aiding and

    Abetting, Count Two of the indictment. On September 23, 2022, the Court sentenced the

    defendant to, inter alia, 30 months incarceration.

3. On October 31, 2022, the Court ordered the parties to submit a status report on or before

    November 14, 2022 regarding the remaining counts of the indictment.

4. The defendant has rejected the government’s plea offer and will elect to proceed to trial on

    the remaining counts of the indictment. Accordingly, the parties respectfully move the

    Court to schedule a Status Conference in the matter to discuss scheduling a trial.

5. The parties believe it is in the interest of justice to toll the Speedy Trial Act while the parties

    await the Status Conference. The parties thus request a tolling of the Speedy Trial Act,

    pursuant to 18 U.S.C. § 3161(h)(7)(A), based on the factors described in 18 U.S.C.

    3161(h)(7)(B)(i), (ii), and (iv), as well as 18 U.S.C. § 3161(h)(1)(G).

6. Therefore, the parties request the Court schedule a Status Conference and move for an

    exclusion of time under the Speedy Trial Act from November 14, 2022, through the

    scheduled Status Conference.

7. The defendant is in custody.

8. The defendant concurs with this request.




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      Respectfully submitted,

      MATTHEW M. GRAVES
      United States Attorney

By:        /s/                               /s/
      Douglas G. Collyer                 Nicholas Smith, Esq.
      Assistant United States Attorney   Counsel for Thomas Hamner
      Capitol Riot Detailee              1123 Broadway
      NDNY Bar No.: 519096               Townsend Building
      14 Durkee Street, Suite 340        Suite 909
      Plattsburgh, NY 12901              New York, NY 10010
      (518) 314-7800                     917-902-3869
      Douglas.Collyer@usdoj.gov          nds@davidbsmithpllc.com
